PnoB 12c
(3.'931

Case 1:03-Cr-10055-.JUNI'1`_EDMMES DESEUDGFDGZUJIPBQG 1 of 2 Page|D 28

for
Western District of Tennessec

Petition for Warrant or Summons for Offender Under Supervision

   

Name of Offender: Anjta MOOdy Claytoll Case Number: l:O3CRl UOSS-Ol-TB §§
fn
53 ij
Name of Sentencing Judicial Offlcer: Mat'k Alan ESCue QCG)§} § a
Q viii '
Date of Original Sentence: 12/ 1 l/ 03 Q‘_?f` '£' ah
\ G-jj
Original Offense: Possession of Stolen Mail 299 g §
czi> “-’ 0
Original Sentence: 13 month, 7 days in CllStOdy _F-A ip 9
followed by 3 years on supervised release §QAQ w
Type of Supervision: Supervised R€lease Date Supervision Commenced: 11/16/04
Assistant U.S. Attoe :ViCtOI' L. I Defense .l. hael MOSier
PETITIONING THE COURT
[X] To issue a warrant
[ ] To issue a summons

rI'he probation ofiicer believes that the offender has violated the following condition(s) of supervision:

Violation Number Nature of Noncompliance
Generai condition New criminal charges for Reckless Endangerment & Felouy Evading Arrest

Standard condition #2 Failure to report to probation officer and submit monthly reports

Standard condition #5 Failure to notify probation officer of change in residence or employment
Standard condition #10 Failure to notify probation officer of contact with a law enforcement officer
Standard condition #13 Failure to pay restitution

Special condition Failure to participate in a drug treatment program

U.S. Probation Ofticer Recommendation:

[X] The term of supervision should be
[X] revoked.
[ ] extended for years, for a total term of years.
[ ] The conditions of supervision should be modified as follows:

I declare under penalty of perjury that the foregoing is true and correct

Executed on May 25, 2005

M

U.S. Probation Officer

 

 

 

THE CoURT 0RDE'_izs:

[ ] No Action

[ The Issuance of a Warrant
[ ] The Issuance of a Summons A . M
[ ] Other

Hono le James D. Todd
Chie .S. District Court Judge

Q//W¢QMS"

Thls document entered on the docket sheet In compliance Date 0

with sure ss and/or az(b) Fnch on l}la 'D_lQ~OS

 

 

DISTRIC COURT - WESENTR D"'TRCT 0 TNNESSEE

Notice of Distribution

This notice confirms a copy of thc document docketed as number 21 in
case 1:03-CR-10055 Was distributed by faX, mail, or direct printing on
June 6, 2005 to thc parties listed.

 

 

Victor Lee lvy

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

